960 F.2d 146
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Tracey Scott HUGHES, Plaintiff-Appellant,v.AUGUSTA CORRECTIONAL CENTER, Medical Department;  S. White;Nurse Steward;  Mr. Fletcher;  Mrs. Fletcher;  Mr.Murphy, Defendants-Appellees.
    No. 92-6178.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 6, 1992Decided:  April 22, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-91-246-R)
      Tracey Scott Hughes, appellant pro se.
      Colin James Steuart Thomas, III, Timberlake, Smith, Thomas &amp; Moses, P.C., Staunton, Va., for appellees.
      W.D.Va.
      AFFIRMED
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Tracey Scott Hughes appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hughes v. Augusta Correc.  Ctr., No. CA-91-246-R (W.D. Va.  Nov. 21, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    